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     UNITED STATES COURT OF INTERNATIONAL TRADE
  THE HONORABLE TIMOTHY C. STANCEU, SENIOR JUDGE


HILEX POLY CO., LLC, et al.,        )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )              No. 17-00090
                                    )
UNITED STATES OF AMERICA, et al., )
                                    )
     Defendants.                    )
____________________________________)

                               NOTICE OF APPEAL

         Notice is hereby given that all Plaintiffs in the above-named case hereby

appeal to the United States Court of Appeals for the Federal Circuit the denial of

Plaintiffs’ motion for reconsideration on June 8, 2022 and the denial of Plaintiffs’

motion for judgment and entry of final judgment for the Defendants on June 16, 2022.

Hilex Poly Co. v. United States, CIT No. 1:17-cv-00090-TCS, Slip op. 22-62 (ECF

No. 96), Slip op. 22-72 (ECF No. 97), and the Judgment (ECF No. 98) (Ct. Int’l Trade

2022).
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Dated: August 5, 2022                         /s/ J. Michael Taylor
                                              J. Michael Taylor
                                              jmtaylor@kslaw.com
                                              Jeffrey M. Telep
                                              jtelep@kslaw.com
                                              Jeremy M. Bylund
                                              jbylund@kslaw.com
                                              KING & SPALDING LLP
                                              1700 Pennsylvania Ave., NW
                                              Washington, D.C. 20006
                                              (202) 737-0500

                                              I. Cason Hewgley, IV
                                              chewgley@kslaw.com
                                              KING & SPALDING LLP
                                              1100 Louisiana St., Suite 4100
                                              Houston, TX 77002
                                              (713) 751-3200

                                              Counsel to Plaintiffs




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